Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.177 Page 1 of 158




                             EXHIBIT B
                                ROA #8
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.178 Page 2 of 158



  1   HATTON, PETRIE & STACKLER APC
      Attorneys at Law
  2   12 Journey, Suite 255
      Aliso Viejo, Ca. 92625
  3   Telephone: (949) 474-4222

  4   GREGORY M. HATTON, CAL. BAR NO. 119810
      ARTHUR R. PETRIE, II, CAL. BAR NO. 158654
  5   DAN E. HECK, CAL. BAR NO. 210383
      JOHN A. McMAHON, CAL. BAR NO. 237261
  6
      Attorneys for Plaintiff
  7   BORREGO COMMUNITY HEALTH FOUNDATION

  8                        SUPERIOR COURT OF THE STATE OF CALIFORNIA

  9                 IN AND FOR THE COUNTY OF SAN DIEGO—CENTRAL DIVISION

 10 BORREGO COMMUNITY HEALTH                       )    Case No. 37-2021-00024676-CU-FR-CTL
    FOUNDATION, a California non-profit            )
 11 public benefit corporation,                    )    FIRST AMENDED COMPLAINT FOR:
                                                   )
 12                          Plaintiff,            )    (1)   FRAUD
                                                   )    (2)   REFORMATION
 13            vs.                                 )    (3)   RESCISSION (in the alternative)
                                                   )    (4)   MONEY HAD AND RECEIVED
 14   INLAND VALLEY INVESTMENTS, LLC, a )               (5)   UNFAIR BUSINESS PRACTICES
      California limited liability company; DRP    )    (6)   DECLARATORY RELIEF
 15   HOLDINGS, LLC, a California limited          )    (7)   INTERPLEADER; and
      liability company; PROMENADE SQUARE, )            (8)   INJUNCTION
 16   LLC, a California limited liability company; )
      WILL LIGHTBOURNE, Director,                  )    [DEMAND FOR JURY TRIAL]
 17   CALIFORNIA DEPARTMENT OF HEALTH)
      CARE SERVICES; and DOES 1 through 50, )           Case assigned for all purposes to:
 18   inclusive,                                   )
                                                   )    Hon. Katherine Bacal
 19                          Defendants.           )    Dept. C-69
      _____________________________________ )
 20                                                )    Complaint filed 6/4/2021
 21           Plaintiff Borrego Community Health Foundation (“BCHF”) alleges as follows:

 22   I. Parties and their Respective Roles in Relevant Transactions.

 23       A. Plaintiff BCHF.

 24       1. Plaintiff BCHF is, and at all times mentioned herein was, a California non-profit public

 25   benefit corporation. BCHF is a Federally Qualified Health Center (“FQHC”) with a mission to

 26   provide high quality, comprehensive, compassionate primary healthcare to people in their

 27   communities, regardless of their ability to pay. BCHF operates 26 clinics, primarily in underserved

 28   desert and inland communities throughout San Diego, Riverside, and San Bernardino Counties.

                                                  -1-

              BORREGO COMMUNITY HEALTH FOUNDATION’S FIRST AMENDED COMPLAINT FOR DAMAGES, ETC.
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.179 Page 3 of 158



  1   BCHF provides essential services in Family Practice, Pediatrics, OB/GYN, Internal Medicine,

  2   Podiatry, Dermatology, Cardiology, HIV/Hepatitis C and Covid 19 related testing and vaccinations

  3   to over 200,000 patients, most of whom cannot find affordable comprehensive primary care from

  4   other sources. During the recent pandemic, BCHF tested more than 80,000 Californians for Covid-19

  5   infections, and has thus far vaccinated over 18,000. BCHF’s continued operation is in the public

  6   interest.

  7       2. Like all non-profit public benefit corporations, BCHF has no owners or shareholders. It is

  8   governed by a Board of Trustees (“Board”) and managed by salaried executives who report to the

  9   Board.

 10       3. As a FQHC, BCHF operates pursuant to a comprehensive scheme of state and federal laws

 11   and regulations under which:

 12            a. Rates for federally funded medical services paid by the State of California are set for each

 13                     BCHF clinic based in part on mandatory cost reports submitted to the United States

 14                     Center for Medicare & Medicaid Services (“CMS”);

 15            b. Utilization of medical services is regulated; and,

 16            c. Provider services are invoiced, reviewed, audited, and paid.

 17       4. As a non-profit public benefit corporation providing essential medical services to underserved

 18   communities, BCHF is generally prohibited from intentionally entering into contracts for

 19   employment, facilities, goods, or services priced above fair market values without good cause.

 20   Numerous laws and regulations prohibit and/or penalize the “use” of a non-profit FQHC as a

 21   “conduit” to unlawfully siphon federal health care funds into the hands of third parties by way of

 22   third-party contracts set above fair market values intentionally and without good cause. Billions of

 23   dollars of federally funded health program funds flow through FQHCs nationally every year. Over a

 24   hundred million of these funds are paid to BCHF each year.

 25       5. Because there are no owners or shareholders to report to, a FQHC’s Board of Trustees

 26   (typically made up of individuals untrained to detect so-called “white collar” crime) provides a thin

 27   line of defense against unscrupulous board members, executives, and employees who would

 28   circumvent the Board of Trustees’ oversight and unlawfully divert millions of dollars of federally
                                                      -2-

                  BORREGO COMMUNITY HEALTH FOUNDATION’S FIRST AMENDED COMPLAINT FOR DAMAGES, ETC.
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.180 Page 4 of 158



  1   funded health program funds to third parties. One vehicle for the diversion of federally funded

  2   health program funds is a contract between the non-profit FQHC and a provider of facilities, goods,

  3   or services that is unreasonably in excess of fair market value. When this diversion of funds occurs,

  4   the non-profit FQHC is not the perpetrator of the fraud. It is a victim of it. So are the underserved

  5   men, women, and children who rely on the continued operation of the FQHC to provide them with

  6   essential primary healthcare services.

  7       6. As is relevant here, BCHF was victimized by three grossly over-priced 30-year (sic) facility

  8   leases engineered by its former CEO (now deceased) and a long-time friend of the former CEO who

  9   develops, owns, and leases commercial property. The total combined lease price of all three leases is

 10   over $100 million dollars. As further detailed below, these leases were not subject to due diligence.

 11   Nor were they submitted to the BCHF Board for analysis, review, and informed consent and

 12   approval. They couldn’t be. Even if it were marginally reasonable for a non-profit FQHC to enter

 13   into a 30-year facility lease (which it is not), recent independent appraisals show the total combined

 14   lease prices are $58 million over fair market rent (“FMR”). No informed rational FQHC board

 15   could lawfully approve the leases.

 16       7. The leases were paid because BCHF’s former CEO personally directed and controlled the

 17   activities of BCHF’s former business manager (his wife) and its former chief legal officer. The

 18   scheme victimized BCHF and its patients in at least three ways:

 19          a. Exposure to State Suspensions and Federal Disqualification: In California, government

 20                  funded health program funds flow to FQHCs under the oversight of the California

 21                  Department of Health Care Services (“DHCS”). DHCS is empowered to suspend all

 22                  reimbursement for the provision of health care services to Medi-Cal members in

 23                  accordance with, inter alia, Welfare and Institutions Code section 14107.11 and Title

 24                  42 of the Code of Federal Regulations section 455.23.1 Further, the United States

 25   1
       It is public knowledge that BCHF is currently under investigation by the California Attorney
 26   General’s Division of Medi-Cal Fraud and Elder Abuse for fraud against the Medi-Cal program
      partly as the result of unauthorized contracts signed by BCHF’s former CEO that include contracts
 27   other than the facilities leases herein at issue.
 28
                                                   -3-

              BORREGO COMMUNITY HEALTH FOUNDATION’S FIRST AMENDED COMPLAINT FOR DAMAGES, ETC.
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.181 Page 5 of 158



  1               Health Resources and Services Administration (HRSA)/Bureau of Primary Health

  2               Care (BPHC) monitors FQHCs and can suspend and/or disqualify BCHF from the

  3               FQHC program, including, inter alia, an action by HRSA requiring BCHF to cease all

  4               activities in the program pending corrective action (45 CFR 75.375) and possible

  5               suspension under HHS regulations (2 CFR Part 376, 45 CFR 75.2). (As detailed

  6               below, DHCS is presently allowing BCHF to continue operations under the guidance,

  7               oversight, and direction of a DCHS appointed independent monitor. DCHS and its

  8               monitor have directed BCHF to suspend payment of rent over FMR on the three

  9               leases that are the subject of this action.)

 10        b. Reimbursement rate adjustments: The cost of owning, renting, maintaining, and

 11               upgrading clinic facilities is a substantial cost center for FQHCs providing primary

 12               health care services of the type described above. As such, CMS recognizes the fair

 13               market value of facility costs reasonably incurred and truthfully reported by FQHCs

 14               in determining the reimbursement rates to be paid clinics operated by the FQHC. Cost

 15               reporting in excess of fair market value inflates the FQHC’s mandatory cost reports

 16               required under Title 42 of the United States Code section 1395g, and exposes BCHF

 17               to an order that it amend its cost reports retroactively, potentially leading to a

 18               reduction in reimbursement rates paid by federally funded health programs. (DHCS

 19               and its monitor recently indicated that DHCS will require BCHF to amend its CMS

 20               mandated cost reports to reflect the fair market value of the three subject leases, and

 21               not the over market rents actually paid on them.)

 22        c. Non-profit 501(c)(3) tax status: Contract payments to disqualified persons in excess of

 23               fair market values (or other unlawful diversion of a non-profit entity’s revenue to

 24               falsely disguise profits as operating expenses) can result in tax liability and/or loss of

 25               non-profit tax status. (See, e.g., Internal Revenue Code sections 4958(c)(1) and

 26               4958(f)(1) and related Treasury Department Regulations in section 53.4958-3.)

 27

 28
                                                  -4-

            BORREGO COMMUNITY HEALTH FOUNDATION’S FIRST AMENDED COMPLAINT FOR DAMAGES, ETC.
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.182 Page 6 of 158



  1      8. Board oversight of executive action is therefore essential to BCHF’s placement of facility

  2   leases that: (1) Are entered into for a lawful purpose; (2) Are sought competitively, and subjected to

  3   a diligent market value analysis; and, (3) To the extent reasonably possible, reflect FMR and

  4   reasonable duration, and which include reasonable terms under which the FQHC can terminate the

  5   lease.

  6      9. Facility leases entered into by a BCHF executive above FMR intentionally, without good

  7   cause, and without the fully informed consent of the Board are per se unlawful ab initio, because,

  8   inter alia, they are entered into for an unlawful purpose—to defraud BCHF of money, thereby

  9   exposing it to regulatory sanctions and related adverse financial and tax consequences.

 10

 11      B. Defendant Promenade Square, LLC.

 12      10.      Defendant Promenade Square, LLC (“Promenade”) is a California limited liability

 13   company whose primary place of business is located in El Cajon, California. Promenade is engaged

 14   in the commercial real estate business. BCHF is informed and believes that Promenade’s sole

 15   member and manager is Daryl Priest (“Priest”).

 16      11. Promenade is the owner and lessor of the structures and appurtenances located at 133 and 155

 17   West Main Street, El Cajon, County of San Diego, California, of which BCHF is the lessee

 18   (“Promenade Lease”).

 19

 20      C. Defendant DRP Holdings, LLC.

 21      12.      Defendant DRP Holdings, LLC (“DRP”) is a California limited liability company whose

 22   primary place of business is located in El Cajon, California. DRP is engaged in the commercial real

 23   estate business. Plaintiff is informed and believes that DRP’s sole member and manager is Priest.

 24      13.      DRP is the owner and lessor of the structures and appurtenances located at 590 North D

 25   Street, City of San Bernardino, County of San Bernardino, California, of which BCHF is the lessee

 26   (“DRP Lease”).

 27

 28
                                                   -5-

               BORREGO COMMUNITY HEALTH FOUNDATION’S FIRST AMENDED COMPLAINT FOR DAMAGES, ETC.
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.183 Page 7 of 158



  1        D. Defendant Inland Valley Investments, LLC.

  2        14.      Defendant Inland Valley Investments, LLC (“Inland Valley”) is a California limited

  3   liability company whose primary place of business is located in El Cajon, California. Inland Valley

  4   is engaged in the commercial real estate business. Plaintiff is informed and believes that Inland

  5   Valley’s sole member and manager is Priest.

  6        15.      By way of assignment from DRP, Inland Valley is now the lessor of the structures and

  7   appurtenances located at 750 East Main Street, City of Barstow, County of San Bernardino,

  8   California, of which BCHF is the lessee (“Inland Valley Lease”).

  9

 10        E. Allegations Common to Defendants Promenade, DRP, and Inland Valley.

 11        16.      BHCF is now informed and believes, and on that basis alleges, Priest is a longtime

 12   personal friend of former BCHF CEO Bruce Hebets (“Hebets”). Priest also owned and operated the

 13   management service organization that had managerial control over discrete portions of BCHF,

 14   including but not limited to provider relations, claims management, management of information

 15   related systems, quality assurance management, data reporting, and general administration of

 16   BCHF’s contract dental program. For these and other reasons, Promenade, DRP, and Inland Valley

 17   are more likely than not “disqualified persons” under the Internal Revenue Code and Treasury

 18   regulations referenced above.

 19        17.      For the sake of brevity, and because BCHF is informed and believes that Priest is the sole

 20   owner, member, and manager of Promenade, DRP, and Inland Valley:

 21              a. Promenade, DRP, and Inland Valley are also referred to collectively as the “Priest LLCs”;

 22                     and

 23              b. The three leases BCHF entered into with the Priest LLCs are referred to collectively as

 24                     the “Priest Leases.”

 25   // // //

 26

 27   // // //

 28
                                                      -6-

                 BORREGO COMMUNITY HEALTH FOUNDATION’S FIRST AMENDED COMPLAINT FOR DAMAGES, ETC.
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.184 Page 8 of 158



  1      F. California Department of Health Care Services.

  2      18.      Defendant California Department of Health Care Services (“DHCS”) administers the

  3   California Medicaid program, called “Medi-Cal.” DHCS is the state agency responsible for the

  4   administration of the Medi-Cal program. As noted above, government health program funds flow to

  5   FQHCs under the oversight of the DHCS, and the DHCS is empowered to suspend all

  6   reimbursement for the provision of health care services to Medi-Cal members.

  7      19.      Defendant Will Lightbourne is DHCS’ current Director and is sued in his official capacity

  8   solely for the purpose of naming the DHCS as a defendant in this action as an interested party to the

  9   interpleader cause of action. Director Lightbourne is responsible for directing, organizing, and

 10   administering the Medi-Cal program in accordance with all applicable laws and regulations. As

 11   such, he is responsible for DHCS’ compliance with state and federal laws governing the Medi-Cal

 12   program.

 13      20.      As further alleged below, DHCS has a direct, immediate, and ongoing interest in

 14   monitoring and directing BCHF’s performance of its leases with the Priest LLCs, including the

 15   prevention of payment of rent in excess of FMR. (Through no fault of its own, BCHF has already

 16   paid the Priest LLCs approximately $11,500,000 over FMR under the Priest Leases. At a minimum,

 17   the $11,500,000 operates as an offset to FMR rents that BCHF will be depositing with the Court

 18   under the interpleader pled herein. As such, further payment of rent to the Priest LLCs only

 19   perpetuates the “over-FMR” payments to which the DHCS objects. DHCS’ interest in the disposition

 20   of funds deposited under the interpleader is therefore current and valid under law.)

 21

 22      G. Fictitious Defendant, Agency, and Alter Ego Allegations.

 23      21.      The true names or capacities, whether individual, corporate, associate, or otherwise, of

 24   those identified herein as DOES 1 through 50, inclusive, are unknown to BCHF, who therefore sues

 25   said defendants by such fictitious names. BCHF is informed and believes, and based thereon alleges,

 26   each of the defendants designated herein as a DOE is legally responsible in some manner for the

 27   events and happenings herein referred to, and legally caused injury and damage to BCHF as alleged

 28   herein. BCHF is informed and believes, and based on that alleges, DOES are business entities or
                                                    -7-

               BORREGO COMMUNITY HEALTH FOUNDATION’S FIRST AMENDED COMPLAINT FOR DAMAGES, ETC.
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.185 Page 9 of 158



  1   individuals who:

  2            a. Are individually responsible in some manner for the damages arising from transactions,

  3                   acts, omissions, and/or occurrences that relate to matters referred to in this complaint;

  4            b. Are in privity of contract;

  5            c. Have ratified and adopted the conduct of another person or entity (who is responsible in

  6                   some manner for the damages alleged herein) as their own;

  7            d. Are the principals, agents, guarantors, owners, alter egos, joint venturers, or partners of

  8                   another person or entity who is responsible in some manner for the damages alleged

  9                   herein; or,

 10            e. Are pooling participants with, or are otherwise jointly liable with another person or entity

 11                   who is responsible in some manner for the damages alleged herein (whether based on

 12                   Delos v. Farmers Insurance Group (1979) 93 Cal.App.3d 642, Downey Savings &

 13                   Loan v. Ohio Casualty (1987) 189 Cal.App.3d 1072, or any similar joint liability

 14                   theory).

 15      22.      BCHF will amend this Complaint to insert the true names and capacities of said DOE

 16   individuals or entities when they become known to BCHF.

 17      23.      With the exception of DHCS, each defendant sued herein is the agent, co-conspirator,

 18   joint venturer, partner, employer, guarantor, ratifier, or employee of every other defendant and non-

 19   party participant in the wrongful acts alleged herein, and has been acting within the course and scope

 20   of said agency, conspiracy, joint venture, partnership, guarantee, or employment, with the knowledge

 21   or consent of co-defendants and non-party participants, and each of them.

 22      24.      BCHF is informed and believes, and based thereon alleges, that each defendant has

 23   authorized or ratified the wrongful activities of each of the remaining defendants, and of the non-

 24   party participants in the wrongful acts alleged herein.

 25      25.      BCHF is informed and believes, and on that basis alleges, there is such unity of interest

 26   and ownership between the Priest LLCs that the separate personalities of the limited liability

 27   companies no longer exist and that if the acts are treated as those of the individual limited liability

 28   companies alone an inequitable result will follow (based on the factors set forth in Associated
                                                     -8-

               BORREGO COMMUNITY HEALTH FOUNDATION’S FIRST AMENDED COMPLAINT FOR DAMAGES, ETC.
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.186 Page 10 of 158



   1   Vendors, Inc. v. Oakland Meat Co. (1962) 210 Cal.App.3d 825 and Arnold v. Browne (1972) 27

   2   Cal.App.3d 386, 394-395, and other applicable law).

   3

   4   II. Venue.

   5       26.      Venue in the above-entitled Court is proper because: (1) the acts and omissions occurred

   6   in the County of San Diego; (2) the liability sued upon arose in the County of San Diego; and, (3) all

   7   of the defendants reside in or have their principal place of business in the County of San Diego, or

   8   did so reside at the time they committed the acts giving rise to this Complaint. (Cal. Code Civ. Proc.,

   9   § 395.5.)

  10       27.      BCHF filed this matter in the Central Division pursuant to San Diego Superior Court

  11   Rules, rule 1.2.2.

  12

  13 III. Relevant Transactions.

  14       A. Overview.

  15       28.      BCHF received its first grant award from the HRSA in 2003, designating the organization

  16   as a FQHC in light of its commitment to increase access to medical services to the underserved

  17   communities surrounding BCHF. BCHF experienced substantial growth as a FQHC in the years that

  18   followed, expanding to over 20 clinic locations in three counties. Annual federally funded health

  19   program revenues thereafter reached nine figures.

  20       29.      Beginning no later than 2012, certain (now former) BCHF executives and board members

  21   caused BCHF to enter into contracts with companies owned in whole or in part by Priest. None of

  22   these contracts were entered into with the informed consent of the BCHF Board. All of them were

  23   priced substantially above fair market value. Three of these contracts are the Priest Leases the

  24   subject of this action.

  25       30.      Late in 2020, DHCS suspended payment of federally funded health benefits to BCHF in

  26   conjunction with an investigation relating in part to contracts with Priest-owned entities other than

  27   the Priest LLCs. BCHF is a victim of unlawful contracting practices that are a subject of DHCS’

  28   investigation. BCHF has cooperated, and continues to cooperate, with DCHS and law enforcement.
                                                     -9-

                 BORREGO COMMUNITY HEALTH FOUNDATION’S FIRST AMENDED COMPLAINT FOR DAMAGES, ETC.
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.187 Page 11 of 158



   1        31.      In the course of the investigation, numerous contracts were reviewed, including the Priest

   2   Leases. Independent certified commercial real estate appraisers made the following findings:

   3              a. On the lease with Promenade (El Cajon location), BCHF was paying $39,104.75 a month

   4                     above FMR, or $469,257 above FMR per year;

   5              b. On the lease with DRP (San Bernardino location), BCHF was paying $38,405.95 a month

   6                     above FMR, or $460,871.40 above FMR per year; and,

   7              c. On the lease with Inland Valley (Barstow location), BCHF was paying $80,025.25 a

   8                     month above FMR, or $960,303 above FMR per year.

   9        32.      In sum, BCHF has been paying the Priest LLCs $1,890,431.40 a year above FMR, and

  10   has paid over $11,500,000 above FMR cumulatively since inception of the Priest Leases. Here is a

  11   summary of the appraiser’s findings:

  12                                  El Cajon        San Bernardino       Barstow         Overpayments
       Lessor                        Promenade             DRP           Inland Valley
  13
       Current Rent - Month      $     111,686.00     $    62,704.00    $ 104,920.00
  14   FMR                       $       72,581.25    $    24,298.05    $ 24,894.75
       Monthly Overpayment       $       39,104.75    $    38,405.95    $ 80,025.25        $   157,535.95
  15   Yearly Overpayment        $     469,257.00     $ 460,871.40      $ 960,303.00       $ 1,890,431.40
  16   Initiation                         9/21/2012         9/15/2015           2/2/2016
       Years (to date)                   8.5               5.5                5.25
  17   Cumulative                $   3,988,684.50     $ 2,534,792.70    $ 5,041,590.75     $ 11,565,067.95
  18
            33.      Additionally, the lease terms of 30 to 33 years on the Priest Leases is over market as well.
  19
       A fair market term for these commmercial leases is 3 to 5 years.
  20
            34.      In order to remain in operation, BCHF signed an agreement with DHCS in February 2021
  21
       under which an independent monitor selected by DHCS would institute a robust corporate integrity
  22
       and compliance program at BCHF. As is relevant here, DHCS’ monitor has directed BCHF to: (1)
  23
       stop paying above FMR on the Priest Leases; and, (2) take action to address over-FMR, excessive
  24
       30-year lease terms, and the failure to include lease provisions under which BCHF may terminate the
  25
       lease. This lawsuit is BCHF’s good faith attempt to comply with those directives.
  26
       // // //
  27
       // // //
  28
                                                         - 10 -

                  BORREGO COMMUNITY HEALTH FOUNDATION’S FIRST AMENDED COMPLAINT FOR DAMAGES, ETC.
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.188 Page 12 of 158



   1      35.      In response, the Priest LLCs are now acting in unison. The Priest LLCs have demanded

   2   that BCHF continue to make over-FMR rent payments under the Priest Leases. The Priest LLCs are

   3   now threatening that BCHF failure to pay the rent demanded on any one of the Priest Leases will

   4   result in immediate eviction proceedings as to all three locations that are the subject of the Priest

   5   Leases. The DHCS monitor says DHCS will not allow BCHF to pay the rent currently demanded.

   6   Under BCHF’s agreement with DHCS, BCHF must comply with those directives.

   7      36.      For these and other reasons detailed below, BCHF seeks the relief requested below.

   8

   9      B. The Hebets/Priest Relationship “Disqualifies” the Priest LLCs Under the Internal Revenue

  10            Code and Related Treasury Regulations.

  11      37.      As noted above, Hebets (now deceased) was BCHF’s CEO from 2004 until his retirement

  12   in 2018. BCHF is informed and believes, and based thereon alleges, Hebets and Priest knew each

  13   other from their high school years. Beginning in 2012 and continuing through December 2016,

  14   Hebets and Priest caused BCHF and several Priest-owned entities to enter into various contracts

  15   under which millions of dollars of federally funded healthcare program funds were unlawfully

  16   diverted to the Priest-owned entities. For example, Priest also owned and operated the management

  17   service organization that had managerial control over discrete portions of BCHF, including but not

  18   limited to provider relations, claims management, management of information related systems,

  19   quality assurance management, data reporting, and general administration of BCHF’s contract dental

  20   program. As noted above, for these and other reasons, the Priest LLCs are more likely than not

  21   “disqualified persons” under the Internal Revenue Code and Treasury regulations.

  22      38.      In breach of his fiduciary duties, Hebets signed each of these contracts without:

  23            a. Approval from the Board;

  24            b. Disclosing their terms to the Board;

  25            c. Disclosing to the Board his relationship with Hebets;

  26            d. Presenting the Board with any evidence of due diligence in determining the fair market

  27                   value of the contracts; and,

  28            e. A Board resolution approving any of the Priest Leases.
                                                      - 11 -

                BORREGO COMMUNITY HEALTH FOUNDATION’S FIRST AMENDED COMPLAINT FOR DAMAGES, ETC.
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.189 Page 13 of 158



   1       39.      BCHF is the victim of the undisclosed relationship between Priest and Hebets, and the

   2   wrongful conduct described above. The Priest Leases are the direct result of this wrongful conduct.

   3

   4       C. The Promenade Lease.

   5       40.      Attached hereto as Exhibit A and incorporated as though set forth in full at this point is a

   6   true and correct copy of the 2012 Promenade Lease. It was amended to extend the term to 2045 (a

   7   total of 33 years).

   8       41.      The Promenade Lease was never presented to the BCHF Board for authorization or

   9   approval. In breach of his fiduciary duties, Hebets engaged in the conduct described in Paragraph 36

  10   above with respect to the Promenade Lease.

  11       42.      There has been no action by the Board to ratify Hebets’ signing of the Promenade Lease

  12   or any of its amendments post signature.

  13

  14       D. The DRP Lease.

  15       43.      Attached hereto as Exhibit B and incorporated as though set forth in full at this point is a

  16   true and correct copy of the 2015 DRP Lease. The DRP Lease was amended to change the

  17   commencement date to October 2016. The DRP Lease has a term of 30 years, to 2046.

  18       44.      The DRP Lease was never presented to the BCHF Board for authorization or approval. In

  19   breach of his fiduciary duties, Hebets engaged in the conduct described in Paragraph 36 above with

  20   respect to the Promenade Lease.

  21       45.      There has been no action by the Board to ratify Hebets’ signing of the lease or any of its

  22   amendments post signature.

  23

  24       E. Inland Valley Lease.

  25       46.      Attached hereto as Exhibit C and incorporated as though set forth in full at this point is a

  26   true and correct copy of the 2016 Inland Valley Lease. The Inland Valley Lease was initially made

  27   between DRP and BCHF. DRP promptly assigned it to Inland Valley in 2017, in an assignment

  28   signed by Hebets and Priest. It has a term of 30 years, to 2046.
                                                      - 12 -

                 BORREGO COMMUNITY HEALTH FOUNDATION’S FIRST AMENDED COMPLAINT FOR DAMAGES, ETC.
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.190 Page 14 of 158



   1        47.      The Inland Valley Lease was never presented to the BCHF Board for authorization or

   2   approval. In breach of his fiduciary duties, Hebets engaged in the conduct described in Paragraph 36

   3   above with respect to the Promenade Lease.

   4        48.      There has been no action by the Board to ratify Bruce Hebets’ signing of the lease or any

   5   of its amendments post signature.

   6

   7        F. Allegations Common to the Promenade, DRP, and Inland Valley Leases.

   8        49.      With minimum due diligence, the over-FMR price and excessive duration of the

   9   Promenade, DRP, and Inland Valley Leases, combined with the absence of any term allowing BCHF

  10   to terminate a lease prior to their respective lease terms2, would have been readily apparent. The

  11   Promenade, DRP, and Inland Valley Leases and a due diligence report relating to them therefore

  12   could not be presented to the Board.

  13        50.      No rational, informed Board of Trustees for a non-profit FQHC would have, or could

  14   have, lawfully approved the Promenade, DRP, or Inland Valley Leases for, inter alia, the following

  15   reasons:

  16              a. The lease terms are unconscionable, and would result in the diversion of millions of

  17                     “over-FMR” dollars of federally funded health program money to entities owned by a

  18                     friend of the CEO;

  19              b. As set forth above:

  20                    i. The Promenade Lease calls for payment of nearly $40,000 per month over FMR, or

  21                       more than $15,000,000 over FMR over the 33-year life of the lease;

  22                   ii. The DRP Lease calls for payment of nearly $39,000 per month over FMR, or

  23                       approximately $14,000,000 over FMR over the 30-year life of the lease;

  24                  iii. The Inland Valley Lease calls for payment of more than $80,000 per month over

  25                       FMR, or approximately $29,000,000 above FMR over the 30-year life of the lease;

  26   // // //

  27   2
         Promenade Lease: 2045 (33 years); DRP Lease: 2046 (30 years); and Inland Valley: 2046 (30
  28   years).

                                                      - 13 -

                  BORREGO COMMUNITY HEALTH FOUNDATION’S FIRST AMENDED COMPLAINT FOR DAMAGES, ETC.
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.191 Page 15 of 158



   1              c. Approximately 90% of the revenue received by BCHF is paid by government funded

   2                     health programs (Medi-Cal and Medicare), and therefore:

   3                   i. If the Promenade Lease was enforceable, then $13,500,000 of the over-FMR dollars

   4                      paid to Promenade could be government funded health program money;

   5                   ii. If the DRP Lease was enforceable, $12,600,000 of the over-FMR dollars paid DRP

   6                      could be government funded health program money; and,

   7                  iii. If the Inland Valley Lease was enforceable, nearly $26,000,000 of the over-FMR

   8                      dollars paid Inland Valley could be government funded health program money;

   9              d. The over-FMR facility lease payments expose BCHF to reductions in the allowed

  10                     reimbursements paid BCHF in prior years; and,

  11              e. The close relationship between Hebets and Priest exposes the non-profit FQHC to adverse

  12                     federal tax consequences.

  13        51.       Priest is the sole manager and member of Promenade, DRP, and Inland Valley. Priest is

  14   an experienced owner and successful lessor of commercial properties. Promenade, DRP, and Inland

  15   Valley must each present their commercial leases to banks providing them with mortgages and other

  16   funding on their leased properties. Promenade, DRP, and Inland Valley must perform due diligence

  17   regarding their lessees, before entering into a 30+ year lease that will be reviewed by lenders

  18   providing millions of dollars of financing to Promenade, DRP, and Inland Valley. Promenade, DRP,

  19   and Inland Valley are therefore presumed to know BCHF’s business, including that it is a non-profit

  20   health care provider doing business with federally funded health programs. Promenade, DRP, and

  21   Inland Valley are presumed to know FMR for their respective leases, that the stated rent is over

  22   FMR, and that the lease terms of 30+ years are far beyond fair market lease terms (in the absence of

  23   terms allowing BCHF to terminate the lease on reasonable notice). Priest signed the Promenade,

  24   DRP, and Inland Valley Leases and presented them to Hebets for his signature. Under these facts and

  25   circumstances, Promenade, DRP, and Inland Valley are charged with knowledge that they were each

  26   entering into an over-FMR lease with a non-profit FQHC.

  27   // // //

  28   // // //
                                                     - 14 -

                  BORREGO COMMUNITY HEALTH FOUNDATION’S FIRST AMENDED COMPLAINT FOR DAMAGES, ETC.
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.192 Page 16 of 158



   1      52.        BCHF has performed all of its obligations and duties under the Priest Leases, except

   2   those excused by law and equity.

   3

   4      G. Combined Effect of the Priest Leases.

   5      53.       If enforceable, the Priest Leases would siphon $58 million in over-FMR money from

   6   BCHF over the life of the leases. (This is in addition to the near catastrophic harm caused by other

   7   unauthorized contracts between other Priest entities and BCHF that are not the subject of this

   8   Complaint.) Without judicial intervention on the Priest Leases, the actions of Hebets and a handful

   9   of Priest entities that took place prior to Hebets’ death will continue to present an immediate threat to

  10   disable an essential provider of primary healthcare services to unserserved inland communities in

  11   San Diego, San Bernardino, and Riverside Counties. The Priest Leases therefore cry out for the relief

  12   requested below.

  13

  14                                         FIRST CAUSE OF ACTION

  15                                          (Fraud Against Priest LLCs)

  16      54.       BCHF incorporates by reference Paragraphs 1 through 53 above as though fully set forth

  17   herein.

  18      55.       In committing the acts and omissions alleged above, Hebets, acting as BCHF’s Chief

  19   Executive Officer at the time, knowingly acted in concert with each of the Priest LLCs to enter into

  20   30+ year leases at more than twice FMR. The Priest Leases were never presented to the BCHF

  21   Board for authorization or approval.

  22      56.       In breach of his fiduciary duties, Hebets signed each of these contracts without:

  23             a. Approval from the Board;

  24             b. Disclosing their terms to the Board;

  25             c. Disclosing to the Board his relationship with Hebets;

  26             d. Presenting the Board with any evidence of due diligence in determining the fair market

  27                    value of the contracts; and,

  28             e. A Board resolution approving any of the Priest Leases.
                                                       - 15 -

                 BORREGO COMMUNITY HEALTH FOUNDATION’S FIRST AMENDED COMPLAINT FOR DAMAGES, ETC.
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.193 Page 17 of 158



   1      57.      There has been no action by the Board to ratify Hebets’ signing of the Priest Leases or

   2   any of their amendments post signature.

   3      58.      After Hebets signed the Priest Leases, Hebets and other former BHFC executives under

   4   Hebets’ direct control, who had knowledge that the terms of the Priest Leases were over FMR,

   5   suppressed disclosure of those lease terms to the Board. The misrepresentations and failures to

   6   disclose information and suppression of information concerning the Priest Leases were made with

   7   the intent to induce BCHF to pay and continue to pay the Priest LLCs over-FMR, and to act in the

   8   manner herein alleged in reliance thereon.

   9      59.      At all relevant times, Hebets was BCHF’s chief executive officer, standing in a position

  10   of trust with respect to BCHF. At all times, Hebets owed plaintiff a fiduciary duty.

  11      60.      At the time Hebets’ failure to disclose and suppression of facts occurred, and at the time

  12   the BCHF took actions in reliance thereon, BCHF was ignorant of the existence of the facts that

  13   Hebets and executives under his direct control suppressed and failed to disclose to the BCHF Board

  14   as detailed above. If the BCHF Board had been aware of the existence of the facts not disclosed by

  15   the Priest LLCs, the BCHF would not have, as it did, paid substantial sums above market rent in

  16   violation of law and regulations pertaining to its governance.

  17      61.      Concealment of the terms of the Promenade, DRP, and Inland Valley Leases from the

  18   BCHF Board, and prevention of due diligence in regard to the Priest Leases, was essential to success

  19   of the scheme. With a minimum of due diligence, the over-FMR price and excessive duration of the

  20   Priest Leases, combined with the absence of any terms allowing BCHF to terminate any of the Priest

  21   Leases prior to 2046 (sic) would have been readily apparent. The Priest Leases and due diligence

  22   reports relating to those leases therefore could not be presented to the Board. No rational, informed

  23   Board of Trustees for a non-profit FQHC would have, or could have lawfully approved any of the

  24   Priest Leases, for, inter alia, the following reasons:

  25            a. The lease terms are unconscionable, and would result in the diversion of millions of

  26                   “over-FMR” dollars of federally funded health program money to entities owned by a

  27                   friend of the CEO;

  28            b. As set forth above:
                                                     - 16 -

                BORREGO COMMUNITY HEALTH FOUNDATION’S FIRST AMENDED COMPLAINT FOR DAMAGES, ETC.
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.194 Page 18 of 158



   1                          i. The Promenade Lease calls for payment of nearly $40,000 per month over

   2                             FMR, or more than $15,000,000 over FMR over the 33-year life of the lease;

   3                         ii. The DRP Lease calls for payment of nearly $39,000 per month over FMR, or

   4                             approximately $14,000,000 over FMR over the 30-year life of the lease; and,

   5                        iii. The Inland Valley Lease calls for payment of more than $80,000 per month

   6                             over FMR, or approximately $29,000,000 above FMR over the 30-year life of

   7                             the lease;

   8             c. Approximately 90% of the revenue received by BCHF is paid by government funded

   9                      health programs (Medi-Cal and Medicare), and therefore:

  10                          i. If the Promenade Lease was enforceable, then $13,500,000 of the over-FMR

  11                             dollars paid to Promenade could be considered government funded health

  12                             program money;

  13                         ii. If the DRP Lease was enforceable, $12,600,000 of the over-FMR dollars paid

  14                             DRP could be considered government funded health program money; and,

  15                        iii. If the Inland Valley Lease was enforceable, nearly $26,000,000 of the over-

  16                             FMR dollars paid Inland Valley could be considered government funded

  17                             health program money;

  18             d. The over-FMR facility lease payments expose BCHF to reductions in the allowed

  19                      reimbursements paid BCHF in prior years as detailed above in regard to CMS cost

  20                      reporting requirements; and,

  21             e. The close relationship between Hebets and Priest exposes the non-profit FQHC to adverse

  22                      federal tax consequences as detailed above in regard to Internal Revenue Code and

  23                      related Treasury Department regulations.

  24       62.      The fraud and deceit alleged herein were not discovered by BCHF until on or about

  25   October 20, 2020, a date within three years before the commencement of this action. BCHF could

  26   not with due diligence have discovered the fraud and deceit of the Priest LLCs until on or about this

  27   date because the true facts were suppressed by Hebets, and others acting in concert with him even

  28   after his death.
                                                         - 17 -

                 BORREGO COMMUNITY HEALTH FOUNDATION’S FIRST AMENDED COMPLAINT FOR DAMAGES, ETC.
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.195 Page 19 of 158



   1      63.      In contrast, the Priest LLCs were aware at all times that the Priest Leases called for

   2   payment of rent by a non-profit FQHC so far in excess of FMR that no reasonable Board would

   3   consider their approval, much less approve them.

   4      64.      As alleged above, Priest is the sole manager and member of Promenade, DRP, and Inland

   5   Valley. Priest is an experienced owner and successful lessor of commercial properties. Promenade,

   6   DRP, and Inland Valley must each present its commercial leases to banks providing Promenade,

   7   DRP, and Inland Valley with mortgages and other funding on their leased properties. Promenade,

   8   DRP, and Inland Valley must perform due diligence regarding their lessees, before entering into a

   9   30+ year lease that will be reviewed by lenders of Promenade, DRP, and Inland Valley. Promenade,

  10   DRP, and Inland Valley are therefore presumed to know BCHF’s business, including that it is a non-

  11   profit health care provider doing business with federally funded health programs. Promenade, DRP,

  12   and Inland Valley are presumed to know FMR for their respective leases, that the rent is over FMR,

  13   and that the lease term of 30+ years is far beyond fair market lease terms (in the absence of a term

  14   allowing BCHF to terminate the lease on reasonable notice). Priest signed the Promenade, DRP, and

  15   Inland Valley Leases and presented them to Hebets for his signature. Under these facts and

  16   circumstances, Promenade, DRP, and Inland Valley are each charged with knowledge that they were

  17   entering into over-FMR leases with a non-profit FQHC.

  18      65.      Accordingly, each of the Preist LLCs knowingly and willfully conspired and agreed with

  19   Hebets and Does 1-50, inclusive, to damage BCHF by and through Hebets’ and others’ fraud and

  20   deceit as described in detail above.

  21      66.      The Priest LLCs are now acting in concert in an effort to compel BCHF to continue to

  22   pay over-FMR rent on all three leases. As such, by adoption, ratification, and joint enforcement of

  23   the fraudulently induced and maintained Priest Leases, each of the Priest LLCs has joined with the

  24   other Priest LLCs in the conspiracy to defraud BCHF.

  25      67.      BCHF has been damaged in an amount no less than $18,000,000, which represents the

  26   amount BCHF has paid over market rent to date. In committing the acts recited herein the Priest

  27   LLCs acted with fraud, malice or oppression, justifying an award of punitive damages to plaintiff

  28   BCHF.
                                                     - 18 -

                BORREGO COMMUNITY HEALTH FOUNDATION’S FIRST AMENDED COMPLAINT FOR DAMAGES, ETC.
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.196 Page 20 of 158



   1                                         SECOND CAUSE OF ACTION

   2                               (Reformation Based on Fraud Against Priest LLCs)

   3        68.      BCHF incorporates by reference Paragraphs 1 through 67 above as though fully set forth

   4   herein.

   5        69.      In each of the Priest Leases (Exhibits A, B, and C) the parties thereto express their

   6   intention that the Priest Leases be interpreted so as to make and maintain performance thereunder

   7   lawful. As explained above, however, the amount of rent stated in each of the Priest Leases is

   8   unlawful because it is substantially and materially above market rate.

   9        70.      The above-described failure of the Priest Leases to reflect the true intent of the parties

  10   (i.e., that performance under the lease be only lawful) resulted from Hebets’ concealment from

  11   BCHF that, despite its express promise to the contrary, BCHF’s performance of the pricing terms of

  12   the above-mentioned written instrument would be unlawful.

  13        71.      Without knowledge of the true facts and in reliance on Hebets’ false representations,

  14   BCHF was deceived and misled into performing under a lease that differed materially from the

  15   expressed intent of the parties that performance thereunder be lawful. BCHF’s reliance on Hebets’

  16   fraudulent omissions was reasonable and justified in that he was at all times plaintiff BCHF’s Chief

  17   Executive Officer and fiduciary.

  18        72.      Fraud, as a basis for reformation, consists of (1) a false representation by one party and

  19   (2) justifiable reliance on the false representation by the other party. Here both exist. Civil Code

  20   section 3399 codifies the equitable remedy of reformation of written instruments. Section 3399

  21   provides that a written contract may be revised on application of the party aggrieved, when, through

  22   fraud, mutual mistake, or mistake of one party that the other party knew of or suspected at the time, a

  23   written contract does not express the true intention of the parties.

  24        73.      Here, the strong public interest in BCHF’s continued service of underserved and

  25   financially disadvantaged patients throughout the communities of San Diego, San Bernardino, and

  26   Riverside Counties, as detailed above, compels the court’s exercise of its equitable power to reform

  27   the Priest Leases.

  28   // // //
                                                       - 19 -

                  BORREGO COMMUNITY HEALTH FOUNDATION’S FIRST AMENDED COMPLAINT FOR DAMAGES, ETC.
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.197 Page 21 of 158



   1       74.      Even though the BCHF Board was never given the opportunity give its fully informed

   2   consent to any of the Priest Leases, the Board reasonably expects and intends that all BCHF contracts

   3   conform with all applicable laws.

   4       75.      For the reasons detailed above, BCHF’s intent that the Priest Leases conform with all

   5   applicable laws (consistent the terms of the leases) cannot possibly be fulfilled without reformation

   6   of the rent prices to FMR, and without reformation of the 30-year lease term to five years or less, and

   7   without reformation of the leases to allow the non-profit FQHC tenant to terminate the lease for good

   8   cause on reasonable notice.

   9       76.      Plaintiff BCHF respectfully prays for each of the Priest Leases to be so reformed.

  10

  11                                        THIRD CAUSE OF ACTION

  12                               (Rescission Based on Fraud Against Priest LLCs)

  13       77.      BCHF incorporates by reference Paragraphs 1 through 76 above as though fully set forth

  14   herein.

  15       78.      Alternatively, if the Court cannot exercise its statutory and/or equitable powers to reform

  16   the leases, BCHF is entitled to rescind the Priest Leases, and for restitution of all sums paid the Priest

  17   LLCs to date, less the reasonable rental value of the premises during BCHF’s occupation of it.

  18       79.      BCHF may rescind Priest Leases (1) if the contract is unlawful for causes which do not

  19   appear in its terms or conditions, and the parties are not equally at fault [Civ. Code § 1689(b)(5)] or

  20   (2) if the public interest would be prejudiced by permitting the leases to stand [Civ. Code

  21   § 1689(b)(6)]. A commercial lease is unlawful if its consideration or object is (1) contrary to an

  22   express provision of law, (2) contrary to the policy of express law, though not expressly prohibited,

  23   or (3) otherwise contrary to good morals [Civ. Code § 1667]. Another ground for rescission and

  24   restitution not addressed by Civ. Code § 1689(b) allows recovery when the parties were ignorant of

  25   the illegality at the time they entered into the contract.3 Under the facts alleged in this Complaint,

  26
       3
        Adams v. Heinsch (1948) 89 Cal. App. 2d 300, 302–305, 200 P.2d 796 (also on ground of mistake);
  27
       Brashears v. Giannini (1933) 131 Cal. App. 706, 709–711, 22 P.2d 47; Restatement (2d) of
  28   Contracts, § 198].
                                                     - 20 -

                 BORREGO COMMUNITY HEALTH FOUNDATION’S FIRST AMENDED COMPLAINT FOR DAMAGES, ETC.
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.198 Page 22 of 158



   1   each and every one of the aforementioned grounds for rescission are met. In addition, the public

   2   interest will be prejudiced if the Priest Leases are permitted to stand, in that BCFH’s ability to

   3   provide quality healthcare in underserved areas will be undermined by inequitable diversion of funds

   4   to defendant. Further the fraud described above is grounds for rescission.

   5      80.       BCHF therefor prays, in the alternative, and in the event that the Priest Leases cannot be

   6   reformed, for judgment rescinding the Priest Leases, and for restitution of all sums paid the Priest

   7   LLCs to date, less the reasonable rental value of the premises during BCHF’s occupation of the three

   8   leased facilities, along with orders providing for the reasonable surrender of the premises in a manner

   9   that will protect the interests of the patients BCHF is required to serve.

  10

  11                                       FOURTH CAUSE OF ACTION

  12                     (Common Count for Money Had and Received Against Priest LLCs)

  13      81.       BCHF incorporates by reference Paragraphs 1 through 80 above as though fully set forth

  14   herein.

  15      82.       A judgment of rescission supports an award of money to BCHF under a common count

  16   for money had and received. In addition to the facts supporting the fraud count pled above, the

  17   following facts also support a common count for money had and received.

  18      83.       BCHF is informed and believes Hebets and Priest knew each other from high school.

  19   Beginning in 2012, and continuing through December 2016, Hebets and Priest caused BCHF and

  20   several Priest-owned entities to enter into various contracts under which millions of dollars of federal

  21   healthcare program funds were unlawfully diverted to the Priest-owned entities. Priest owned and

  22   operated the management service organization that had managerial control over discrete portions of

  23   BCHF, including but not limited to provider relations, claims management, management of

  24   information related systems, quality assurance management, data reporting, and general

  25   administration of BCHF’s contract dental program. For these and other reasons, the Priest LLCs are

  26   more likely than not “disqualified persons” under the Internal Revenue Code and Treasury

  27   regulations. Accordingly, rent money BCHF paid the Priest LLCs in excess of FMR is money

  28   unlawfully had and received by the Priest LLC’s: its return to BCHF is mandatory under law.
                                                     - 21 -

                 BORREGO COMMUNITY HEALTH FOUNDATION’S FIRST AMENDED COMPLAINT FOR DAMAGES, ETC.
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.199 Page 23 of 158



   1        84.        Beginning in 2012, and continuing through 2020, the Priest LLCs became indebted to

   2   BCHF in the sum of at least $18,000,000 for money had and received by the Priest LLCs. Neither the

   3   whole nor any part of this sum has been paid, although demand therefor has been made, and there is

   4   now due, owing, and unpaid the sum of at least $18,000,000, with interest thereon, at the legal rate as

   5   the court may allow, according to proof at trial.

   6

   7                                            FIFTH CAUSE OF ACTION

   8              (Violation of Business and Professions Code Section 17200, et seq. Against Priest LLCs)

   9        85.        BCHF incorporates by reference Paragraphs 1 through 84 above as though fully set forth

  10   herein.

  11        86.        The actions described herein constitute unlawful and unfair business practices within the

  12   meaning of Business & Professions Code section 17203. BCHF has requested that the Priest LLCs

  13   cease the unfair business practices described herein. The Priest LLCs have rejected and continue to

  14   reject these requests.

  15        87.        As a direct, proximate and foreseeable result of the Priest LLCs’ unfair business practices,

  16   as described herein, BCHF has paid over $18,000,000 in over-FMR rent, which is subject to orders

  17   of disgorgement and/or restitution under the UCL.

  18        88.        BCHF is informed and believes, and based thereon alleges, the Priest LLCs’ unlawful and

  19   unfair business practices, as described herein, are part of a plan to ignore and violate laws, and to

  20   compel BCHF to violate laws, applicable to contracts with non-profit FQHCs, as described above.

  21   BCHF is informed and believes, and based on that alleges, the Priest LLCs will continue with their

  22   unlawful and unfair business practices unless they are enjoined from doing so.

  23   // // //

  24   // // //

  25   // // //

  26   // // //

  27   // // //

  28   // // //
                                                        - 22 -

                    BORREGO COMMUNITY HEALTH FOUNDATION’S FIRST AMENDED COMPLAINT FOR DAMAGES, ETC.
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.200 Page 24 of 158



   1                                         SIXTH CAUSE OF ACTION

   2                                   (Declaratory Relief Against Priest LLCs)

   3      89.       BCHF incorporates by reference Paragraphs 1 through 88 above as though fully set forth

   4   herein.

   5      90.       An actual controversy exists in regard to the parties’ duties and obligations under the

   6   Priest Leases as alleged in this Complaint, and as such, a judicial declaration of the parties’

   7   respective duties and obligations is appropriate as to the matters in dispute, as alleged herein.

   8

   9                                       SEVENTH CAUSE OF ACTION

  10                                     (Interpleader Against All Defendants)

  11      91.       BCHF incorporates by reference Paragraphs 1 through 90 above as though fully set forth

  12   herein.

  13      92.       As detailed above, the Priest LLCs, acting in concert, continue to demand BCHF pay rent

  14   in excess of FMR on all three Priest Leases. The Priest LLCs threaten BCHF that failure to do so

  15   will result in immediate eviction proceedings. At the same time, DHCS and its appointed monitor

  16   have directed BCHF not to pay rent in excess of FMR, and to take immediate action to either reform

  17   or rescind the Priest Leases (with all attendant remedies), for the reasons alleged herein. Further, due

  18   to the fact that the DHCS considers that BCHF has already paid $18,000,000 over FMR to the Priest

  19   LLCs, it is unlikely the Priest LLCs are entitled to payment of further rent until the payments in

  20   excess of FMR are reconciled and accounted for.

  21      93.       As a result, BCHF faces two contrary competing claims on its money, one based on

  22   contract (the Priest Leases), and one based on an authorized regulatory agency’s mandates (DHCS’

  23   directives). Accordingly, plaintiff BCHF has no alternative other than to interplead FMR to this

  24   court.

  25      94.       The remedy of interpleader is codified under Code of Civil Procedure sections 386–386.6

  26   which are to be broadly interpreted to give effect to the remedial nature of the codifying provisions

  27   and to promote justice. An action of interpleader may be maintained under Code of Civil Procedure

  28   section 386, subdivision (b) even though the claims made on the party bringing the action are
                                                     - 23 -

                 BORREGO COMMUNITY HEALTH FOUNDATION’S FIRST AMENDED COMPLAINT FOR DAMAGES, ETC.
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.201 Page 25 of 158



   1   unliquidated and no liability on the part of such party has arisen. (Code Civ. Proc., § 386 subd. (b).)

   2   Interpleader actions are also proper under Code of Civil Procedure section 386, subdivision (a), in

   3   which the conflicting claims relate to personal property or a contract obligation, liability for which is

   4   wholly or partly admitted by the stakeholder. Accordingly, BCHF will deposit with the court the

   5   FMR for the three locations leased from the Priest LLCs, and thereafter await the court’s ruling on

   6   amounts it owes defendants, if anything.

   7

   8                                         EIGHTH CAUSE OF ACTION

   9                                        (Injunction Against Priest LLCs)

  10      95.        BCHF incorporates by reference Paragraphs 1 through 94 above as though fully set forth

  11   herein.

  12      96.        For clarity and to avoid confusion only, BCHF sets out its claim for injunctive relief

  13   separately.

  14      97.        As to the interpleader (count seven, above), BCHF requests the Court make such

  15   temporary restraining orders, or issue such preliminary injunctions as necessary to restrain and enjoin

  16   defendants until further notice and order of the court from prosecuting any and all proceedings and

  17   any and all actions at law now pending, or from bringing any proceeding or action against BCHF

  18   affecting the rights and obligations as between the parties in the action with respect to the Priest

  19   Leases, and as to any other properties leased by BCHF from any of the Priest LLCs that are not

  20   described with specificity in any of the Priest Leases.

  21      98.        As to the ongoing UCL violations, BCHF seeks a separate injunction forever terminating

  22   the violations.

  23

  24                                            PRAYER FOR RELIEF

  25             WHEREFORE, BCHF prays for judgment against defendants, and each of them, as follows:

  26      1. With respect to the First Cause of Action—Fraud (As to Priest LLCs only):

  27             a. For actual and consequential damages in an amount subject to proof at trial, but in an

  28                     amount no less than $18,000,000;
                                                      - 24 -

                 BORREGO COMMUNITY HEALTH FOUNDATION’S FIRST AMENDED COMPLAINT FOR DAMAGES, ETC.
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.202 Page 26 of 158



   1            b. Punitive damages; and

   2            c. Pre-judgment and post-judgment interest.

   3      2. With respect to the Second Cause of Action—Reformation Due to Fraud (Priest LLCs only):

   4            a. Order reforming the payments under the Priest Leases to reflect only FMR as rent due and

   5                   owing, and further, to limit the term of the leases as commercially reasonable to no

   6                   more than five years;

   7            b. Order of restitution that all money paid to Priest LLCs in excess of the amount of rent in

   8                   the reformed Priest Leases be returned to BCHF; and

   9            c. Pre-judgment and post-judgment interest on all sums ordered returned.

  10      3. With respect to the Third Cause of Action—Rescission Due to Fraud (As to Priest LLCs

  11   only):

  12            a. Rescission of the Priest Leases;

  13            b. For actual and consequential damages in an amount subject to proof at trial, but in an

  14                   amount no less than $18,000,000 or, in the alternative, restitution of all sums

  15                   unlawfully paid, less the reasonable rental value of the premises during BCHF’s

  16                   occupation of the three leased facilities;

  17            c. Punitive damages as allowed by law;

  18            d. Order providing for the reasonable surrender of the premises in a manner that will protect

  19                   the interests, safety, and health of BCHF’s patients; and

  20            e. Pre-judgment and post-judgment interest.

  21      4. With respect to the Fourth Cause of Action—Money Had and Received (As to Priest LLCs

  22   only):

  23            a. Order that money had and received by Priest LLCS be returned to BCHF, subject to proof

  24                   at trial, but in an amount no less than $18,000,000; and

  25            b. Pre-judgment and post-judgment interest.

  26      5. With respect to the Fifth Cause of Action—UCL Violations (As to Priest LLCs only):

  27            a. Restitution of all sums unlawfully paid, less the reasonable rental value of the premises

  28                   during BCHF’s occupation of the three leased facilities; and
                                                      - 25 -

                BORREGO COMMUNITY HEALTH FOUNDATION’S FIRST AMENDED COMPLAINT FOR DAMAGES, ETC.
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.203 Page 27 of 158



   1              b. Pre-judgment and post-judgment interest.

   2        6. With respect to the Sixth Cause of Action—Declaratory Relief (As to Priest LLCs only):

   3              a. A declaration of the rights and liabilities of the parties to the attached Priest leases, as to

   4                      the matters alleged in dispute herein.

   5        7. With respect to the Seventh Cause of Action—Interpleader (As to All Defendants):

   6              a. Order that defendants to take whatever action they believe appropriate in this lawsuit to

   7                      establish their right to control or direct distribution of the money deposited by BCHF

   8                      herein, to issue such decrees and orders of payment appropriate thereto. During the

   9                      pendency of this action, to make such temporary restraining orders, or issue such

  10                      preliminary injunctions as necessary restrained and enjoining defendants until further

  11                      notice and order of the court from prosecuting any and all proceedings and any and all

  12                      actions at law now pending, or from bringing any proceeding or action against BCHF

  13                      affecting the rights and obligations as between the parties in the action with respect to

  14                      the Priest Leases attached hereto.

  15        8. With respect to the Eighth Cause of Action—Injunction (As to Priest LLCs only):

  16              a. That the Court make such temporary restraining orders, or issue such preliminary

  17                      injunctions as necessary to restrain and enjoin the Priest LLCs until further notice and

  18                      order of the court from prosecuting any and all proceedings and any and all actions at

  19                      law now pending, or from bringing any proceeding or action against BCHF affecting

  20                      the rights and obligations as between the parties in the action with respect to the Priest

  21                      Leases referenced above, and as to any other properties leased by BCHF from any of

  22                      the Priest LLCs that are not described with specificity in any of the Priest Leases; and

  23              b. As to the ongoing UCL violations, BCHF seeks a separate injunction forever terminating

  24                      the violations.

  25   // // //

  26

  27   // // //

  28
                                                         - 26 -

                  BORREGO COMMUNITY HEALTH FOUNDATION’S FIRST AMENDED COMPLAINT FOR DAMAGES, ETC.
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.204 Page 28 of 158
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.205 Page 29 of 158




                          EXHIBIT A
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.206 Page 30 of 158
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.207 Page 31 of 158
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.208 Page 32 of 158
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.209 Page 33 of 158
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.210 Page 34 of 158
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.211 Page 35 of 158
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.212 Page 36 of 158
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.213 Page 37 of 158
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.214 Page 38 of 158
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.215 Page 39 of 158
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.216 Page 40 of 158
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.217 Page 41 of 158
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.218 Page 42 of 158
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.219 Page 43 of 158
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.220 Page 44 of 158
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.221 Page 45 of 158
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.222 Page 46 of 158
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.223 Page 47 of 158
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.224 Page 48 of 158
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.225 Page 49 of 158
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.226 Page 50 of 158
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.227 Page 51 of 158
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.228 Page 52 of 158
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.229 Page 53 of 158
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.230 Page 54 of 158
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.231 Page 55 of 158
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.232 Page 56 of 158
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.233 Page 57 of 158
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.234 Page 58 of 158
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.235 Page 59 of 158
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.236 Page 60 of 158
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.237 Page 61 of 158
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.238 Page 62 of 158
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.239 Page 63 of 158
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.240 Page 64 of 158
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.241 Page 65 of 158
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.242 Page 66 of 158
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.243 Page 67 of 158
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.244 Page 68 of 158
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.245 Page 69 of 158
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.246 Page 70 of 158
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.247 Page 71 of 158
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.248 Page 72 of 158
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.249 Page 73 of 158
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.250 Page 74 of 158
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.251 Page 75 of 158
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.252 Page 76 of 158
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.253 Page 77 of 158
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.254 Page 78 of 158
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.255 Page 79 of 158
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.256 Page 80 of 158
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.257 Page 81 of 158
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.258 Page 82 of 158
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.259 Page 83 of 158
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.260 Page 84 of 158
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.261 Page 85 of 158




                                     STATEMENT FOR PHARMACY ACCESS



   Borrego Community Health Foundation Pharmacy

   155 WEST MAIN STREET

   EI Cajon,   California,   92O2O

  A: Business and Professions Code 41L6 states that no person shall be permitted enter into a
  premises licensed by the Board of Pharmacy unless a registered pharmacist is present at all
  times.



  B: Title L6, Section 114(d) of California Code of regulations provides that only a licensed
  pharmacist may have a key to an area where dangerous drugs and controlled substances are
  stored.



  C: The California State Board of Pharmacy requires that no lease for a licensed premises contain
  a provision inconsistent with Sections 41.1.6 or t7L4(d).



  D: The landlord and the tenant hereby clarify the lease with respect to the Landlord's ability to
  access the premises by affixing their signatures below. The signatories agree to the adhering to
  Sections 4tL6 or 171,4(d).




  Landlord                                                 Tenant

  Promenade Square, LLC                                    Borrego Community Health Foundation

  124 West Main Suite 240                                 P.O. Box 2369

  El Cajon, California 92020                              Borrego Spri      California 92004



                             @u 2o                                             ,lklroaD
  Signature                  Date                          Signature            Date




                                                                                   Page 1 of 1
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.262 Page 86 of 158
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.263 Page 87 of 158
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.264 Page 88 of 158
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.265 Page 89 of 158
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.266 Page 90 of 158
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.267 Page 91 of 158
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.268 Page 92 of 158
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.269 Page 93 of 158
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.270 Page 94 of 158
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.271 Page 95 of 158
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.272 Page 96 of 158




                          EXHIBIT B
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.273 Page 97 of 158
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.274 Page 98 of 158
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.275 Page 99 of 158
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.276 Page 100 of 158
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.277 Page 101 of 158
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.278 Page 102 of 158
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.279 Page 103 of 158
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.280 Page 104 of 158
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.281 Page 105 of 158
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.282 Page 106 of 158
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.283 Page 107 of 158
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.284 Page 108 of 158
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.285 Page 109 of 158
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.286 Page 110 of 158
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.287 Page 111 of 158
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.288 Page 112 of 158
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.289 Page 113 of 158
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.290 Page 114 of 158
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.291 Page 115 of 158
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.292 Page 116 of 158
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.293 Page 117 of 158
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.294 Page 118 of 158
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.295 Page 119 of 158
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.296 Page 120 of 158
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.297 Page 121 of 158
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.298 Page 122 of 158
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.299 Page 123 of 158
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.300 Page 124 of 158
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.301 Page 125 of 158
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.302 Page 126 of 158




                           EXHIBIT C
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.303 Page 127 of 158
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.304 Page 128 of 158
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.305 Page 129 of 158
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.306 Page 130 of 158
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.307 Page 131 of 158
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.308 Page 132 of 158
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.309 Page 133 of 158
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.310 Page 134 of 158
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.311 Page 135 of 158
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.312 Page 136 of 158
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.313 Page 137 of 158
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.314 Page 138 of 158
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.315 Page 139 of 158
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.316 Page 140 of 158
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.317 Page 141 of 158
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.318 Page 142 of 158
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.319 Page 143 of 158
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.320 Page 144 of 158
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.321 Page 145 of 158
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.322 Page 146 of 158
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.323 Page 147 of 158
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.324 Page 148 of 158
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.325 Page 149 of 158
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.326 Page 150 of 158
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.327 Page 151 of 158
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.328 Page 152 of 158
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.329 Page 153 of 158
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.330 Page 154 of 158
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.331 Page 155 of 158
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.332 Page 156 of 158
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.333 Page 157 of 158
Case 3:21-cv-01417-AJB-AGS Document 1-7 Filed 08/06/21 PageID.334 Page 158 of 158
